                         UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:05CR258-2-V

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
                vs.                                   )               ORDER
                                                      )
ROBERT JAMES CRISP,                                   )
                                                      )
                Defendant.                            )
                                                      )

         THIS MATTER is before the Court on the Defendant’s Motion for a New Trial and

Memorandum in Support (Documents ##210, 211) and the Government’s Reply (Document

#224).

         The Defendant moves for a new trial pursuant to Rule 33 of the Federal Rules of Criminal

Procedure. Def. Mt. 1. As a basis for his motion, the Defendant relies upon newly discovered

evidence that an investigating detective for this matter engaged in certain improprieties.1 Def.

Mem. 1-2. The Defendant argues that the detective intimidated witnesses either to testify falsely

or not at all. Id. at 2. The Defendant alleges that the investigating officer intimidated “the

Government’s main witnesses, Johnny Watson and Amy Watson [the “centerpiece” of the

Government’s case against the Defendant] ... into testifying against [the Defendant], and [they]

will now recant that testimony.” Id. at 5.2 The Defendant stated that his counsel was in the

         1
         The Caldwell County Sheriff’s Department terminated Detective Eric A. Smith several
months after the conclusion of the Defendant’s trial. Def. Mem. 2. Although the Defendant
advances several allegations against Smith, such as which agencies investigated Smith and what
charges have been brought against Smith, the Court does not find it necessary at this time to
detail those facts.
         2
        The Defendant also argues that this evidence tends to impeach many of the witnesses at
the Defendant’s trial, and that there is “strong evidence that ... other stories may have been


   Case 5:05-cr-00258-FDW-DSC              Document 228         Filed 05/05/08      Page 1 of 3
process of obtaining affidavits from the Watsons. See Def. Mem. 3. However, as of the time of

this Order no such affidavits have been filed with the Court.

          In its response, the Government states that Johnny Watson never testified at the trial of

the Defendant. Govt. Resp. 2. Furthermore, the Government notes that the Defendant did not

identify any other (potential) witnesses or specific evidence affected, nor did he provide

affidavits of the witnesses willing to recant their testimony. Id.

          The Court finds that the record before it is incomplete or insufficient to order a hearing or

otherwise rule on this matter. The investigation of the Caldwell County detective was well

publicized. However, the Court cannot rule upon vague accusations. The Defendant has not yet

delivered on a promise to provide this Court with affidavits regarding witness recantations.

Furthermore, the Government denies that half of the “centerpiece” of its case was affected by this

new evidence. The Defendant must clarify these matters before the Court can take any further

action.


          IT IS, THEREFORE, ORDERED that, within sixty (60) days of this Order, the

Defendant will:

                 1) provide the Court with affidavits from Johnny Watson, Amy Watson, and any

                 other person who will recant their trial testimony, or otherwise support the

                 allegations raised by the Defendant; and




fabricated.” Def. Mem. 4-5. However, the Defendant does not identify which (potential)
witnesses, aside from the Watsons, may have been affected.


   Case 5:05-cr-00258-FDW-DSC                Document 228         Filed 05/05/08      Page 2 of 3
          2) file a Reply brief in response to the Government, and to the extent possible, cite

          to specific witnesses and evidence that may have been affected by this newly

          discovered evidence.



IT IS SO ORDERED.



                                            Signed: May 5, 2008




  Case 5:05-cr-00258-FDW-DSC         Document 228         Filed 05/05/08      Page 3 of 3
